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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SRS ESTES OSS RISO SR ES Sl momen ST EE EE xX
ANTHONY RAPP, et ano.,
Plaintiffs,
-against- 20-cv-9586 (LAK)
KEVIN SPACEY FOWLER,
Defendant(s).
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LEWIS A. KAPLAN, District Judge.

The parties have been unable to reach any agreement with respect to jurisdictional
discovery. Accordingly, jurisdictional and merits discovery shall proceed concurrently. The
scheduling order entered on J anuary 12, 2021 remains in effect.

SO ORDERED.

Dated: January 27, 2021 | Hee.

“Levis A. KapljA

United States nan Judge

 
